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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                    Criminal No. 15-164(2)(DSD/BRT)


United States of America,

                  Plaintiff,

v.                                                            ORDER

James Green(2),

                  Defendant.


     LeeAnn K. Bell, Esq., United States Attorney’s Office, 300
     South Fourth Street, Suite 600, Minneapolis, MN, 55415 counsel
     for plaintiff.

     DeAundres D. Wilson, Esq. and Wilson Law Office, PA, 310
     Groveland Avenue, Minneapolis, MN 55403, counsel for
     defendant.



     This matter is before the court upon the motions for judgment

of acquittal and for a new trial by defendant James Green.               Green

moved for judgment of acquittal at trial after the government

closed its evidence.     The court reserved decision on the motion

until after the jury returned its verdict.          The jury found Green

guilty of conspiracy to distribute cocaine.           After trial, Green

renewed his motion for judgment of acquittal and moved for a new

trial.

I.   Rule 29 Motion

     On a defendant’s motion for acquittal, the court “must enter

a judgment of acquittal of any offense for which the evidence is

insufficient to sustain a conviction.”         Fed. R. Crim. P. 29(a).
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When considering a motion for judgment of acquittal based on

sufficiency of the evidence, the court views the evidence “in the

light most favorable to the verdict, giving it the benefit of all

reasonable inferences.”       United States v. Cacioppo, 460 F.3d 1012,

1021    (8th   Cir.   2006)   (citation   and   internal     quotation     marks

omitted).      The court will grant the motion “only if there is no

interpretation of the evidence that would allow a reasonable jury

to find the defendant guilty beyond a reasonable doubt.”                       Id.

(citation and internal quotation marks omitted).

       In the present case, the government offered evidence that was

more than sufficient to sustain a conviction. Therefore, denial of

the motion is warranted.

II.    Rule 33 Motion

       Upon the motion of a defendant, “the court may vacate any

judgment and grant a new trial if the interest of justice so

requires.”     Fed. R. Cr. P. 33(a).      The court has broad discretion

to grant a new trial, but should do so “only sparingly and with

caution.”      United States v. Dodd, 391 F.3d 930, 934 (8th Cir.

2004).     Green argues that a new trial is warranted because the

evidence was insufficient to support his conviction.                Again, the

court disagrees.      The motion is denied.




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     Accordingly,   IT    IS   HEREBY   ORDERED   that   the    motions      for

judgment of acquittal and for a new trial [ECF No. 226] are denied.



Dated:   April 27, 2016


                                         s/David S. Doty
                                         David S. Doty, Judge
                                         United States District Court




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